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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )
                     Plaintiff,                )
                                               )                8:09CR249
       vs.                                     )
                                               )                  ORDER
JENNY M. BUCK,                                 )
                                               )
                     Defendant.                )


        This matter is before the court on defendant's motion to continue trial (Doc. 36). The
court finds that the defendant has not satisfactorily explained why plea negotiations or trial
preparation cannot be timely completed and has not shown good cause for a continuance
of the scheduled trial date.

         IT IS ORDERED that defendant's Motion to Continue Trial (Doc. 36) is denied. The
trial of this matter remains scheduled for September 29, 2009.

      Pursuant to NECrimR 57.2, a party may appeal this order by filing an "Appeal of
Magistrate Judge's Order" no later than September 21, 2009.

       DATED September 16, 2009.

                                             BY THE COURT:

                                             s/ F.A. Gossett
                                             United States Magistrate Judge
